          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:08CR59


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )            ORDER
                                         )
                                         )
JAMARUS MARQUIS SUTTON                   )
                                         )


     THIS MATTER is before the Court on referral from the District Court

for consideration of the motion of Defendant’s appellate counsel for an

order releasing a copy of the Defendant’s presentence report.

     For the reasons set forth in the motion,

     IT IS, THEREFORE, ORDERED that counsel’s motion for a copy of

the Defendant’s presentence report is ALLOWED. The United States

Probation Office is hereby authorized to make available this document to

appellate counsel forthwith.         Signed: May 4, 2009




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